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                            UNITED STATES DISTRICT COURT
                            WESTERN DISTRICT OF MICHIGAN
                                 SOUTHERN DIVISION
                              ___________________________

UNITED STATES OF AMERICA,

               Plaintiff,                                  Case No. 1:23-cr-095

v.                                                         Hon. Robert J. Jonker
                                                           United States District Judge
RASHAD MALEEK TRICE,

               Defendant.
                                     /


                    DEFENDANT’S SENTENCING MEMORANDUM

                                         Introduction

        The defendant, Rashad Maleek Trice, is scheduled for sentencing before Your Honor

on August 23, 2024. Mr. Trice entered a guilty plea pursuant to a Plea Agreement (ECF No.

55, PageID.411-420) to Count 1 of the Indictment charging him with Kidnapping Resulting in

Death, contrary to 18 U.S.C. § 1201(a)(1).

        The final Presentence Investigation Report (PSR) scores Mr. Trice as total offense level

43 and a criminal history category V. (ECF No. 64, PSR, PageID.587-613). Mr. Trice’s

applicable guideline range is a mandatory life sentence. There are no outstanding objections

to the PSR.

        Mr. Trice respectfully submits this Sentencing Memorandum to assist the Court in

sentencing Mr. Trice.
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                                      Legal Discussion

       Overall, as the Court is aware, the principle and basic mandate of 18 U.S.C. § 3553(a)

requires this Honorable Court to impose a sentence “sufficient, but not greater than necessary”

to comply with the four (4) purposes set forth in § 3553(a)(2):

       § 3553. Imposition of a sentence.

              (a) Factors to be considered in imposing a sentence. – The court shall impose
       a sentence sufficient, but not greater than necessary, to comply with the purposes set
       forth in paragraph (2) of this subsection. The court, in determining the particular
       sentence to be imposed, shall consider –

              (1) the nature and circumstances of the offense and the history and
       characteristics of the defendant;

              (2) the need for the sentence imposed –

                     (A) to reflect the seriousness of the offense, to promote respect for the
                     law, and to provide just punishment for the offense;

                     (B) to afford adequate deterrence to criminal conduct;

                     (C) to protect the public from further crimes of the defendant; and

                     (D) to provide the defendant with needed educational or vocational
                     training, medical care, or other correctional treatment in the most
                     effective manner. . .

18 U.S.C. § 3553(a)(2).

       In United States v. Ferguson, 456 F.3d 660, 665 (6th Cir. 2006), the Court held that

after United States v. Booker, 543 U.S. 220 (2005), a judge must impose the lowest sentence

that is “minimally sufficient” to meet those goals regardless of whether that sentence is

probation, time served, a mandatory minimum sentence, the statutory maximum, or

somewhere in between.




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                                  18 U.S.C. § 3553(a) Factors

          1. (a) Nature and Circumstances of the Offense
             (b) History and Characteristics of the Defendant

          Rashad Maleek Trice is 27 years old. He was born and raised in Detroit, Michigan. At

the time Mr. Trice was born, his parents were not married. By the time Mr. Trice was 8 years

old, his father was convicted of a homicide and was sent to prison. His father remained in

prison until he was released in 2017 after serving approximately 17 years. During those

formative years, Mr. Trice did not have a relationship with his father. Mr. Trice still does not

have a relationship with his father and he has spoken about the fact that once his father got out

of prison, he quickly established a relationship with another woman and had a child. Mr. Trice

spoke about how that fact negatively affected him since it was clear his father placed that

relationship over establishing a relationship with Mr. Trice once his father finally got out of

prison.

          Mr. Trice had a much stronger relationship with his mother. His mother raised him

until she also had some issues with the criminal justice system and was sent to prison when

Mr. Trice was 10 years old. She was charged with a felony firearm possession and served 720

days imprisonment. When Mr. Trice’s mother went to prison, he was not told what had

happened. The effect of his parents both going to prison and eventually Mr. Trice finding out

what really happened with his mother left him with a fear of abandonment and anxiety. As a

result, Mr. Trice developed an anxious attachment style. (Attachment A, Mitigation Report).

He was sent to live with his uncle, John Horsley, who lived in California. Mr. Horsley had a

strong influence on Mr. Trice and he served in the United States military. Because Mr. Trice




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was not told what happened to his mother when he would miss her and call to speak with her,

he would be told she was unavailable or that he had just missed her.

        Mr. Trice has one sister with whom he is close, and he has two half-brothers with whom

he does not have relationships. Although Mr. Trice is close with his sister, they only have

infrequent contact.

        Mr. Trice has never been married. His first serious relationship was with the victim,

Symari Cole, and the mother of W.C. Mr. Trice and Ms. Cole have a child in common, X.T.

During the time that Mr. Trice and Ms. Cole were together, Mr. Trice supported the family.

Mr. Trice was employed, paid for housing and the necessities. Since the instant offense Mr.

Trice has lost his parental rights of X.T. Losing his son and knowing his son will suffer from

the impact of the instant offense has been overwhelming emotionally for Mr. Trice and he

indicated he tries not to think about it. Prior to the instant offense, Mr. Trice tried to provide

support and love to his son.

        Mr. Trice graduated from high school in 2015 from the Frederick Douglas Academy in

Detroit, Michigan. He also attended Henry Ford Community College for a year which is also

located in Detroit. Although he graduated from high school, it is apparent from receiving his

educational records that he had significant academic struggles. As early as the first grade, he

failed reading, spelling, and math, and received D’s in social studies and science. This pattern

continued in grade school. Mr. Trice attended school for the 6th and 7th grades while living

with his uncle in California. Mr. Trice recalls he attended special education classes during that

time.

        In high school Mr. Trice tried to apply himself and do well, and did show some

improvement in his grades. Under the guidance of his uncle, throughout high school he
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participated in the Reserve Officers’ Training Corps (ROTC) program. While attending school

he also participated in some extracurricular activities; he was a member of the track team, the

Go Green Club (program to minimize the school’s carbon footprint), ROTC, and the mascot

for his school basketball team. Mr. Trice completing high school was a real accomplishment

for him considering all the facts and circumstances.

       After the instant offense, Mr. Trice had a psychiatric evaluation completed by Dr.

Daniel Post from Pine Rest. Regarding Mr. Trice, Dr. Post concluded Mr. Trice has borderline

intellectual functioning. Dr. Post concluded:

       Current intellectual testing and available records support the presence of
       intellectual difficulty that is likely best characterized as borderline intellectual
       functioning. He presents with a fourth grade reading level and no history of
       reported reading intervention or academic support. He does not have a history
       of a specific learning disability diagnosis but has limited reading ability and
       likely struggles with reading comprehension. The DSM-5 posits intellectual
       disabilities on the level of adaptive functioning rather than a precise IQ number.
       That said, intellectual functioning is one helpful gauge of his ability to think and
       act in a variety of settings. With a measured full scale intelligence quotient in the
       extremely low range (FSIQ=66) with reportedly adequate adaptive functioning, one
       would understand academic challenges and more broadly difficulties with complex
       thought and decisions.

(ECF No. 63-6, Defendant’s Response to PSR, PageID.571-572).

       Mr. Trice was also evaluated regarding whether he is competent to stand trial, as well

as to assess any undiagnosed psychiatric issues Mr. Trice may have had at the time. Mr. Trice

was assessed by Williams J. Sanders DO, MS.

       Dr. Sanders’ testing and evaluation concluded as follows:

       Rashad Trice is a 27-year-old African American male who was raised in the Detroit,
       Michigan area. He struggled academically for most of his academic career. He is
       reported to have been a happy and fun child despite the financial and parental
       challenges he faced as a child. His father was sent to prison for many years for a
       murder conviction when he was approximately 8 years of age. His mother was
       subsequently charged with attempted murder when he was 10 years of age and sent

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   to prison for a couple of years. While his father and mother were in prison, he was
   sent to California to live with his uncle Jay. He reported not knowing his mother
   was in prison when he was sent away, and he was unable to communicate with
   her for the entire 2 years he was in California. His separation from his parents
   created difficulty developing trusting and stable relationships throughout his life.

   While growing up, there is no evidence that he received appropriate evaluation,
   testing, or support for an obvious intellectual disability and possible reading
   disorder. It was clear within the first couple of minutes of his evaluation that he has
   some cognitive deficits. His documented school grades and recent psychological
   testing support a diagnosis of a mild intellectual disability (formerly referred to as
   mild mental retardation). This diagnosis and cognitive level are often understood
   as individuals that are educable, can learn to care for oneself, employable in
   routinized jobs but require supervision. Individuals with this diagnosis might
   live alone but do their best in supervised settings. They are often immature but
   with adequate social adjustment and usually have no obvious physical
   anomalies. Moderate and mild retardation, contrary to the more severe forms,
   are typically not caused by brain damage but are part of the normal variance of
   intelligence, and therefore largely genetic and inherited. Individuals with IQ
   values within 51 and 70 will graduate special school with enough time, effort and
   help of others. They are capable of serving themselves and following simple daily
   duties.

   There is suspicion that because of his social, pleasant, and funny demeanor he
   kept getting advanced in school without the necessary support to achieve
   appropriate academic milestones before advancing to higher grades. It appears
   unrealistic given his presentation in this evaluation and related to his
   psychological testing that he achieved the documented A's and B's in some of his
   higher level high school classes as indicated on his school records. Rashad presents
   himself as a possibly socially awkward individual that misunderstands social quos.
   A clear representation of this is how he became the team Mascot for his high
   school basketball team. It appears that his school found ways to keep him
   involved meaningfully despite his cognitive limitations because of his good
   natured, jovial, and positive attitude.

   As Rashad drifted away from his stable, supportive, structured, and familiar
   living environment going to high school with community support and then
   working regularly while living close to his family, friends, and community he
   began to struggle interpersonally and legally. As Rashad's life grew more
   complex with an intimate relationship, longer commute to work, incurring
   financial stress with an apartment, participation in childcare, -and experiencing
   time incarcerated this began to overwhelm him cognitively and emotionally. He
   has a limited ability to understand more complex relationships and tasks.
   Furthermore, he has difficulty trusting others in relationships because of his
   experience of abandonment by his parents while he was growing up. He

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       experiences the world as a distrustful and chaotic place when not in a stable,
       structured, familiar place with supports. Further, he described developing some
       irrational paranoid ideas about his girlfriend, the police, and the world around him
       while he was experiencing the intense situation on July 2, 2023. Rashad, who is
       reported to have been a fun loving, goofy, socially awkward kid ended up in
       several complex emotional and cognitively challenging situations as a young
       adult that became overwhelming for him and lead to disastrous consequences.

(ECF No. 63-6, Defendant’s Response to PSR, PageID.584-586).

       Although as noted above Mr. Trice struggled academically and emotionally, he was

steadily employed since 2017. He was employed at Uncle Ray’s Potato Chips located in

Detroit for approximately six years. His employment ended when he became incarcerated.

Following his employment at Uncle Ray’s, Mr. Trice had employment in 2023 as a general

laborer through Fast Temp Services in Lansing, Michigan. That employment ended when

Mr. Trice was arrested on the instant offense.

       2.     The Need for the Sentence Imposed:
              (A) To Reflect the Seriousness of the Offense, to Promote Respect for the
              Law, and to Provide Just Punishment for the Offense;
              (B) To Deter the Defendant and Others from Committing Like Conduct;
              (C) To Protect the Public; and
              (D) To Provide the Defendant with Needed Rehabilitative Treatment in an
              Effective Manner

       Mr. Trice has accepted responsibility and understands he must face the consequences

of his actions. Mr. Trice knows he faces a mandatory minimum of life in prison.

        3.    The Kinds of Sentences Available

       Probation is unavailable for Mr. Trice. Mr. Trice faces a sentence with a mandatory

minimum of life imprisonment. Mr. Trice respectfully requests mental health treatment while

serving his time.




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       4.     The Advisory Guideline Range as Expressing the Sense of the
              Legislature

       The recommended guideline range is a mandatory minimum of life imprisonment.

       5.     Any Other Policy Statement

       No other policy statement appears to be implicated here.

       6.     Unwarranted Disparities

       No unwarranted disparities appear to be implicated here.

                                         Conclusion

       Mr. Trice respectfully requests this Honorable Court sentence him sufficiently, but not

greater than necessary, to achieve the goals of sentencing.


                                                   Respectfully submitted,

                                                   SHARON A. TUREK
                                                   Federal Public Defender

Dated: August 14, 2024                             /s/ Helen C. Nieuwenhuis
                                                   HELEN C. NIEUWENHUIS
                                                   First Assistant Federal Public Defender

                                                   /s/ Sharon A. Turek
                                                   SHARON A. TUREK
                                                   Federal Public Defender
                                                   50 Louis, NW, Suite 300
                                                   Grand Rapids, Michigan 49503
                                                   (616) 742-7420




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